 Case 1:20-cv-03010-APM Document 719-2 Filed 09/27/23 Page 1 of 1




       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                                  Julia K York
     was duly qualified and admitted on August 5, 2002 as an attorney and counselor entitled to
     practice before this Court; and is, on the date indicated below, an Active member in good
                                         standing of this Bar.




                                                                             In Testimony Whereof,
                                                                         I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                               Court at the City of
                                                                     Washington, D.C., on September 27, 2023.




                                                                              JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                        Issued By:


                                                                           David Chu - Director, Membership
                                                                          District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
